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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  1/11/2021

 Santiago Hernandez, et al.,

                         Plaintiffs,
                                                                      19-cv-7976 (AJN)
                 –v–
                                                                           ORDER
 San Marino at Soho Incorporated, et al.,

                         Defendants.


ALISON J. NATHAN, District Judge:

       The Defendants’ motion for reconsideration (Dkt. No. 49) is DENIED. “A motion for

reconsideration should be granted only when the [moving party] identifies an intervening change

of controlling law, the availability of new evidence, or the need to correct a clear error or prevent

manifest injustice.” Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr., 729 F.3d

99, 104 (2d Cir. 2013) (internal quotation marks omitted). After reviewing the parties’

submissions on the motion for reconsideration, the Court remains of the view that the Defendants

had ample time to conduct discovery and have not articulated any persuasive reason for their

failure to do so. Court-imposed discovery deadlines apply even when parties believe that a

matter is likely to settle, and that a party expected the matter to settle is not an adequate basis to

justify reopening discovery months after it has closed.

       The deadline for the parties to submit their joint pretrial materials is extended to January

29, 2021. The Plaintiffs shall file a letter by January 15, 2021, notifying the Court of when they

intend to communicate with the Defendants to confer regarding the submission of joint pretrial

materials. Failure to do so may result in dismissal of the action for failure to prosecute pursuant

to Federal Rule of Civil Procedure 41(b).
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  SO ORDERED.

Dated: January 11, 2021
       New York, New York
                                      ____________________________________
                                                ALISON J. NATHAN
                                              United States District Judge




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